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                           UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 NEW ALBANY DIVISION

IN RE:                              )
                                    )
PATRICK RAYMOND CLIFT               )                   CASE NO. 19-90046
                                    )                   CHAPTER 7
                  DEBTOR            )
____________________________________)

                     MOTION FOR RELIEF FROM AUTOMATIC STAY
                         AND ABANDONMENT OF PROPERTY

         Comes now Flagship Credit Acceptance (“Flagship”), a secured creditor, by counsel, and

respectfully moves the Court to terminate the automatic stay imposed by 11 U.S.C. Section 362 as to

the collateral, and to abandon Flagship’s collateral described herein. As basis therefor, Flagship

states as follows:

         1.      That Patrick Raymond Clift (the “Debtor”) is indebted to Flagship pursuant to a

Retail Installment Contract and Security Agreement, with a current outstanding balance in the

amount of $18,116.20, plus interest, costs and attorney fees.

         2.     That in order to secure said indebtedness, the Debtor granted to Flagship a security

interest in a 2015 Jeep Compass; VIN 1C4NJDEB2FD125829.

         3.     That the Debtor has failed to adequately protect Flagship’s interest in its collateral by

failing to make payments to Flagship on its collateral. Upon information and belief, the Debtor is

past-due for September, 2018.

         4.     That said collateral is of no, or inconsequential, value to the estate and should be

abandoned from the estate because the Debtor has valued same at $12,000.00 in his Schedule A/B.

Thus, there is no equity in excess of the lien, and any claimed exemptions, and the probable cost of

liquidation.
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        5.      Flagship further respectfully moves the Court to waive the applicability of Rule

4001(a)(3) because upon information and belief, the Debtor is past-due for September, 2018. The

Debtor has indicated in his Statement of Intention that he wishes to surrender the collateral.

        WHEREFORE, Flagship respectfully requests that this Court enter the attached Order

terminating the automatic stay and abandoning the property, and that Flagship be awarded its

attorneys fees and costs incurred in the bringing of this motion.

                                                        Respectfully submitted,

                                                        /s/ Lisa Koch Bryant
                                                        Lisa Koch Bryant
                                                        Tilford Dobbins & Schmidt, PLLC
                                                        401 West Main Street, Suite 1400
                                                        Louisville, Kentucky 40202
                                                        (502) 584-1000
                                                        Attorney No. 2960-98
                                                        COUNSEL FOR
                                                        FLAGSHIP CREDIT ACCPETANCE

                                      VALIDATION NOTICE

        Pursuant to 15 U.S.C.S. Section 1692g(a), take notice that:

        1.      The amount of the debt is $18,116.20.

        2.      The name of the creditor to whom the debt is owed is Flagship Credit Acceptance.

       3.      Unless you dispute the validity of the above debt, or any portion thereof, within 30
days of your receipt of this Notice, the debt will be assumed to be valid.

        4.     If you notify our office in writing within 30 days of your receipt of this Notice that the
debt, or any portion thereof is disputed, we will obtain verification of the debt or a copy of any
judgment that may be of record against you. Such verification or copy of judgment will be mailed to
you.

       5.      Upon your written request within 30 days of the receipt of this Notice, we will
provide you with the name and address of the original creditor, if different from the creditor listed in
paragraph (2) above.

        6.      This is an attempt to collect a debt and any information obtained will be used for that
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purpose.

        This advice pertains to your dealings with me as a debt collector. It does not affect your
dealings with the Bankruptcy Court, and in particular it does not change the time in which you must
respond and/or object to the Stay Relief Motion and Notice for Objection attached hereto. The
Notice for Objection is a command from the Bankruptcy Court, not from me, and you must follow its
instructions even if you dispute the validity or amount of the debt. The advice contained herein also
does not affect my relations with the Bankruptcy Court. As a lawyer, I may file papers in your case
according to the Bankruptcy Court’s rules and the Judge’s instructions.


                                                      /s/ Lisa Koch Bryant
                                                      Lisa Koch Bryant
                                                      Tilford Dobbins & Schmidt, PLLC
                                                      401 West Main Street, Suite 1400
                                                      Louisville, Kentucky 40202
                                                      (502) 584-1000
                                                      Attorney No. 2960-98
                                                      COUNSEL FOR
                                                      FLAGSHIP CREDIT ACCEPTANCE


                                 CERTIFICATE OF SERVICE

       The undersigned certifies that a true and correct copy of the foregoing was this 27th day of
March, 2019, served by electronic mail or regular mail upon the following:

Mark S. Zuckerberg                                    US Trustee
429 N. Pennsylvania St., Ste 100                      101 W. Ohio St., Ste 1000
Indianapolis, Indiana 46204                           Indianapolis, Indiana 46204

Charity S. Bird                                       Patrick Raymond Clift
PO Box 81                                             1090 SR 46 E
New Albany, Indiana 47151                             Batesville, Indiana 47006



                                              /s/ Lisa Koch Bryant
                                              Lisa Koch Bryant
